        Case 2:22-cv-05915-HDV-MAR     Document 65   Filed 09/14/23   Page 1 of 3 Page ID
                                            #:1621


    1 CHRISTOPHER WARD, CA Bar No. 238777
        cward@foley.com
    2 FOLEY & LARDNER LLP
      555 SOUTH FLOWER STREET, SUITE 3300
    3 LOS ANGELES, CA 90071-2418
      TELEPHONE: 213.972.4500
    4 FACSIMILE: 213.486.0065

    5 KEVIN JACKSON, CA Bar No. 278169
        kjackson@foley.com
    6 FOLEY & LARDNER LLP
      11988 EL CAMINO REAL, SUITE 400
    7 SAN DIEGO, CA 92130-2594
      TELEPHONE: 858.847.6700
    8 FACSIMILE: 858.792.6773

    9   Attorneys for Defendant MENZIES
        AVIATION (USA), INC.
  10

  11                        UNITED STATES DISTRICT COURT
  12                       CENTRAL DISTRICT OF CALIFORNIA
  13

  14 DORA PATRICIA AMAYA, an                       Case No. 2:22-cv-05915-HDV-MAR
     individual; and BRAYAN LOZANO
  15 GONZALEZ, an individual; on behalf of         DEFENDANT MENZIES AVIATION
     themselves and others similarly situated,     (USA), INC.’S NOTICE OF MOTION
  16                                               AND MOTION FOR PARTIAL
                                     Plaintiffs,   SUMMARY JUDGMENT
  17
                    vs.                            Date:    October 26, 2023
  18                                               Time:    10:00 a.m.
        MENZIES AVIATION (USA), INC., a            Ctrm.:   5B, 5th Floor
  19    Delaware corporation; and DOES 1           Judge:   Hon. Hernán D. Vera
        through 10, inclusive,
  20
                                Defendants.        Complaint filed: August 19, 2022
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                                                   FAC filed: August 30, 2022
  22                                               SAC filed: May 9, 2023
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              NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                               Case No. 2:22-cv-05915-HDV-MAR
4883-1222-2048.1
        Case 2:22-cv-05915-HDV-MAR          Document 65      Filed 09/14/23   Page 2 of 3 Page ID
                                                 #:1622


    1              TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
    2              PLEASE TAKE NOTICE that on October 26, 2023 at 10:00 a.m., or as soon
    3   thereafter as the matter may be heard in the courtroom of the Honorable Hernán D. Vera
    4   at the United States District Court for the Central District of California, Courtroom 5B,
    5   5th Floor at the First Street Courthouse, located at 350 W. 1st Street, Los Angeles, CA
    6   90012, Defendant Menzies Aviation (USA), Inc. (“Defendant”), by and through its
    7   undersigned counsel, will and hereby does move this Court for an Order granting
    8   Defendant’s Motion for Partial Summary Judgment as to Plaintiff’s Third Cause of
    9   Action (Dkt. 40) on the following grounds:
  10               1.    Resolution of Plaintiffs’ claim for reimbursement of cell phone expenses
  11                     implicates Collective Bargaining Agreements (“CBA”) and requires review
  12                     and interpretation of its language, and it is therefor preempted because the
  13                     outcome depends substantially upon the terms of the CBAs.
  14               2.    Because Menzies and its employees operate in the airline industry, and the
  15                     CBAs expressly addresses its obligation to provide all “equipment and
  16                     materials adequate to perform and any and all work assignments” and thus
  17                     require interpretation, Plaintiffs’ cell phone claim is a “minor dispute”
  18                     covered by and preempted by the Railway Labor Act.
  19               As set forth more fully in the accompanying Memorandum of Points and
  20    Authorities, Defendant respectfully requests that the Court grant partial summary
  21    judgment in favor of Defendant on Plaintiff’s Third Cause of Action for Failure to
  22    Reimburse Business Expenses. (Dkt. 40)
  23               Pursuant to Local Rule 7-3, Menzies’ counsel met and conferred with Plaintiffs’
  24    counsel regarding the subject of this Motion. Specifically, on May 16, 2023, Menzies’
  25    counsel and Plaintiffs’ counsel discussed the Motion by telephone, following email
  26    correspondence as to the same. Counsel for the Parties were unable to reach an
  27    agreement regarding the issues presented in the Motion. (See Declaration of Kevin
  28    Jackson (“Jackson Decl.”), ¶ 9.)

              NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                       -1-     Case No. 2:22-cv-05915-HDV-MAR
4883-1222-2048.1
        Case 2:22-cv-05915-HDV-MAR         Document 65    Filed 09/14/23    Page 3 of 3 Page ID
                                                #:1623


    1              This Motion is based on this Notice of Motion and Motion, the accompanying
    2   Memorandum of Points and Authorities, the Appendix of Evidence including all
    3   declarations and exhibits contained therein, Separate Statement of Uncontroverted Facts
    4   and Genuine Disputes, and all exhibits and evidence attached thereto, and the pleadings
    5   and papers on file herein, and on such other matters and oral argument as my be
    6   presented to the Court at the time of the hearing on this Motion.
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        DATED: August 22, 2023                    FOLEY & LARDNER LLP
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                                                  Christopher Ward
  10                                              Kevin Jackson
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                                                  /s/ Christopher Ward
  13                                              Christopher Ward
                                                  Attorneys for Defendant MENZIES
  14                                              AVIATION (USA), INC.
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              NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                       -2-     Case No. 2:22-cv-05915-HDV-MAR
4883-1222-2048.1
